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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DATATERN, INC.,                                 )
                                                 )
                                                 )        CASE NO. 2:09-CV-00053-TJW-CE
                       Plaintiff,                )
               v.                                )
                                                 )        JURY TRIAL DEMANDED
                                                 )
 UNITED AIR LINES, INC., ET AL.                  )
                                                 )
                       Defendants.               )


                          ORDER OF DISMISSAL WITH PREJUDICE

        In consideration of the parties’ Stipulated Motion for Dismissal of all claims with

 prejudice and all counterclaims as moot asserted between Plaintiff DataTern, Inc., and Defendant

 DFS Services LLC (formerly known as Discover Financial Services, Inc.), the Stipulated Motion

 for Dismissal with Prejudice is GRANTED, and it is

        ORDERED, ADJUDGED, AND DECREED that all claims asserted in this suit between

 Plaintiff and Defendant are hereby dismissed with prejudice and all counterclaims are dismissed

 as moot, subject to the terms of that certain agreement entitled “SETTLEMENT AGREEMENT”

 dated August 12, 2010.

        It is further ORDERED that each party shall bear its own attorneys’ fees and costs.

        SIGNED this 25th day of August, 2010.



                                             __________________________________________
                                             T. JOHN WARD
                                             UNITED STATES DISTRICT JUDGE
